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     EXHIBIT P
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                                                                   Peter   3
                                                                         Roe
                                      Peter Roe         3/13/2018 6:43:21 PM
                                      why?

                                                                         Saif Khan

                                 Saif Khan 3/13/2018 6:44:28 PM
                                 Just wondering about schedule for June

                                                                    Peter Roe
                               Peter Roe          3/13/2018 6:45:26 PM
                               Oh okay. Well yup I forget what time I get
                               in on the 6th. But we do have to find time
                               to fit in the DoED meeting.

                                                                         Saif Khan

                                   Saif Khan 3/13/2018 6:47:27 PM
                                   Okay. Trump worries me every day lol

                                                                    Peter Roe
                                      Peter Roe         3/13/2018 6:47:32 PM
                                      Same.

                                                                         Saif Khan

                                           Saif Khan 3/13/2018 6:47:34 PM
                                           I hope he never fires Betsy

                                                                    Peter Roe
                               Peter Roe          3/13/2018 6:47:44 PM
                               I woke up to the Tillerson news and was
                               like "Oh what fresh hell is this"

                                                                         Saif Khan

                               Saif Khan 3/13/2018 6:47:46 PM
                               And I hope he isn't kicked out in the next
                               18 months

                                                                    Peter Roe
                               Peter Roe          3/13/2018 6:49:31 PM
                               Also I dont think I told you this yet, but I
                               fell asleep with you on discord last night. I
                               also cant figure out how to end calls, side
                               note. Anyway, I also woke up at like 4am
                               to the sound of your snoring very very
                               loudly. But I didn't hang up because it
                               was cute. ��
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                                                                   Peter   3
                                                                         Roe
                               Peter Roe          3/13/2018 9:40:38 PM
                               Why do computers take so long to
                               update?

                                                                         Saif Khan

                                           Saif Khan 3/13/2018 9:41:16 PM
                                           Why

                                                                    Peter Roe
                               Peter Roe          3/13/2018 9:41:31 PM
                               Mine is taking a terribly long time to
                               update ��

                                                                   Peter Roe

                               Peter Roe          3/13/2018 9:43:31 PM
                               Btw I've thought about it a lot today and I
                               think we need to consider you going on
                               the Megyn Kelly show first or potentially
                               on the same day as the jury. I'll tell you
                               why when you call. But it's a very well
                               thought out reason

                                                                         Saif Khan

                                           Saif Khan 3/13/2018 9:45:04 PM
                                           Okay explain it over the phone

                                                                         Saif Khan

                                           Saif Khan 3/13/2018 9:46:08 PM
                                           Get on discord

                                                                    Peter Roe
                                      Peter Roe         3/13/2018 9:48:53 PM
                                      One sec my computer is restarting

                                                                         Saif Khan

                               Saif Khan 3/13/2018 9:49:30 PM
                               At first I thought your computer update
                               was the leadup to a joke

                                                                    Peter Roe
                               Peter Roe          3/13/2018 9:49:55 PM
                               Lol I see how that would have been your
                               thought process
